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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  IN RE:                                                  §
                                                          §         CHAPTER 11
  REMARKABLE HEALTHCARE OF                                §
  CARROLLTON LP, ET AL.,11                                §         CASE NO. 24-40605
                                                          §
                                                          §         (Joint Administration Requested)
            DEBTORS.                                      §
                                                          §

                   SUA SPONTE ORDER LIFTING THE AUTOMATIC STAY

         The above-styled Debtors operate four skilled nursing facilities. On March 25, 2024, the

Court conducted an emergency hearing on a motion by the Debtors to use the cash collateral of

their lender, Alleon Capital Partners. No one objected to the Debtors’ motion, and the Court

granted it. Nonetheless, the Debtors advised the Court that there were insufficient funds to pay

staff. The Debtors further advised the Court that the nursing staff at all facilities except the

Seguin facility would not report to work that evening unless they were paid. The Debtors’

landlord, Kilgore Property Management, LLC, KRS Carrollton, LLC, KRS Dallas, LLC, KRS

Fort Worth, LLC, and KRS Seguin, LLC (collectively, “Kilgore”), represented that it was

prepared to fund the Debtors to the extent and with the conditions set out on the record. The

Debtors, however, refused Kilgore’s proposal. Under these exigent circumstances, given the

immediate threat to patient care at all the facilities except the Seguin facility, the Court found

that cause existed to modify the automatic stay sua sponte pursuant to 11 U.S.C. §§ 105(a) and

362(d) as set forth herein. Accordingly,



    1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Remarkable Healthcare of Carrollton, LP (5960), Remarkable Healthcare of Dallas, LP (3418),
Remarkable Healthcare of Fort Worth (1692), Remarkable Healthcare of Seguin, LP (4566), and Remarkable
Healthcare, LLC (5142).
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       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

       1.      The automatic stay under Bankruptcy Code § 362(a) shall be, and it hereby is,

immediately modified to permit (i) each of the three landlords of the Debtors for the

Carrollton, Dallas, and Fort Worth facilities, consisting of KRS Carrollton LLC, KRS Dallas

LLC, and KRS Fort Worth LLC, (ii) any creditor counter-parties and agencies (including but

not limited to West Wharton Hospital District) of and/or related to Remarkable Healthcare of

Carrollton, LP (-5960), Remarkable Healthcare of Dallas, LP (-3418), Remarkable Healthcare

of Fort Worth (-1692), and Remarkable Healthcare, LLC (5142) (collectively, the “Subject

Debtors”) only, and specifically excluding Remarkable Healthcare of Seguin, LP (-4566), and

(iii) any state or federal agencies, to exercise any rights and remedies or other action

authorized under (a) any applicable contract, lease, or other agreement as to the Subject

Debtors, or (b) under state or federal law as to the Subject Debtors, without further order or

application to the Court.

       2.      The 10-day stay of Bankruptcy Rule 4001(a)(3) shall not apply, and the relief

granted herein immediately is effective.


                                                  Signed on 03/26/2024

                                                                           SD
                                           HONORABLE  BRENDA
                                           HONORABLE BRENDA   T.
                                                       BRENDA T. RHOADES,
                                                               T. RHOADES,
                                                                  RHOADES,
                                           HONORABLE
                                           CHIEF UNITED STATES BANKRUPTCY JUDGE
                                           UNITED
                                           CHIEF  STATES
                                                 UNITED   BANKRUPTCY
                                                        STATES         JUDGEJUDGE
                                                               BANKRUPTCY
